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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


  SHERRY TERESA, individually and on behalf of
  all others similarly situated,
                                                          ORDER GRANTING STIPULATED
                          Plaintiff,                      MOTION REGARDING FIRST
                                                          AMENDED COMPLAINT AND
            v.                                            BRIEFING SCHEDULE REGARDING
                                                          MOTON TO DISMISS
  MAYO FOUNDATION FOR MEDICAL
  EDUCATION AND RESEARCH,                                 Case No. 4:24-cv-00033-AMA-PK

                          Defendant.                      Judge Ann Marie McIff Allen
                                                          Magistrate Judge Paul Kohler


           The Court, having reviewed the Unopposed Motion Regarding First Amended Complaint

 and Stipulated Briefing Schedule Regarding Motion to Dismiss the Court, 1 being fully apprised

 in the premises, and good cause appearing,

           IT IS HEREBY ORDERED that:

           (1) Plaintiff may file the proposed First Amended Complaint (“FAC”).

           (2) Defendant’s Motion to Dismiss (Docket No. 23) is MOOT.

           (3) The following briefing schedule related to Defendant’s forthcoming Motion to Dismiss

 the FAC is issued:

                  a. Defendant must file its Motion to Dismiss the FAC twenty-one days from the

 date the FAC is filed;

                  b. Plaintiff must file her Opposition to the Motion to Dismiss the FAC twenty-

 eight days from the date Defendant files its Motion to Dismiss the FAC;

                  c. Defendant must file its Reply to Plaintiff’s Opposition fourteen days from the

date Plaintiff files her Opposition.




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           Docket No. 26, filed July 12, 2024.
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     DONE this 15th day of July, 2024.

                                             BY THE COURT:



                                             PAUL KOHLER
                                             United States Magistrate Judge




                                         2
